                           Case:18-01839-swd               Doc #:25 Filed: 08/15/18                Page 1 of 2
                                               United States Bankruptcy Court
                                               Western District of Michigan
In re:                                                                                                     Case No. 18-01839-swd
Alisa Byrnes                                                                                               Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0646-1                  User: katrina                      Page 1 of 1                          Date Rcvd: Aug 13, 2018
                                      Form ID: odsms13                   Total Noticed: 4


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 15, 2018.
db             +Alisa Byrnes,   2202 Lagoon Drive,   Okemos, MI 48864-2712
8214621     ++++DITECH FINANCIAL LLC,   332 MINNESOTA ST STE E610,   SAINT PAUL MN 55101-1311
               (address filed with court: Ditech Financial Llc,    332 Minnesota St Ste 610,
                 Saint Paul MN 55101)

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
8232495        +E-mail/Text: bnc@atlasacq.com Aug 13 2018 21:51:46     Atlas Acquisitions LLC,   294 Union St.,
                 Hackensack, NJ 07601-4303
8247902         E-mail/Text: bankruptcy.bnc@ditech.com Aug 13 2018 21:51:49     Ditech Financial LLC,
                 PO Box 6154,   Rapid City, SD 57709-6154
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +Atlas Acquisitions LLC,   294 Union St.,   Hackensack, NJ 07601-4303
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 15, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 13, 2018 at the address(es) listed below:
              Adam J. Gantz    on behalf of Debtor Alisa Byrnes agantz@gantzassociates.com,
               gantzassociates@yahoo.com
              Athena J. Aitas    on behalf of Creditor   Ditech Financial LLC westernecf@trottlaw.com,
               mitrottlaw@ecf.courtdrive.com
              Barbara P. Foley    ecf@chpt13.com, chpt13@yahoo.com
                                                                                             TOTAL: 3
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FORM odsms13 (07/16)
                                          United States Bankruptcy Court
                                           Western District of Michigan
                                               One Division Ave., N.
                                                     Room 200
                                              Grand Rapids, MI 49503


IN RE: Debtor (name used by the debtor in the last 8 years,
including married, maiden, trade, and address):
                                                                    Case Number 18−01839−swd
          Alisa Byrnes
          2202 Lagoon Drive                                         Chapter 13
          Okemos, MI 48864
          SSN: xxx−xx−9904                                          Honorable Scott W. Dales
                                                      Debtor



                                    ORDER DISMISSING CHAPTER 13 CASE

                                       PRESENT: Honorable Scott W. Dales
                                       Chief United States Bankruptcy Judge

   The Debtor filed a motion in accordance with 11 U.S.C. § 1307(b) seeking to dismiss this case, and it
appears that the case has not been converted previously under 11 U.S.C. § 706 or § 1112,

   NOW, THEREFORE, IT IS HEREBY ORDERED that:

         1. This chapter 13 case shall be dismissed at noon on the seventh day after entry of this
         Order unless, before that time, a party in interest files opposition to dismissal or a request for
         a hearing to consider the revesting of estate property under 11 U.S.C. § 349(b)(3).

         2. Upon dismissal all further stay of proceedings shall be hereby terminated as to the Debtor

         3. That Barbara P. Foley shall file her final report and account.

         4. That all orders which have been entered, if any, requiring the employer of the Debtor to
         submit monies to the chapter 13 Trustee are hereby terminated as of the date of entry of this
         Order.

         5. If a party in interest timely opposes dismissal or files a request for hearing as
         contemplated in paragraph 1 of this Order, the Clerk shall schedule a prompt hearing.

   IT IS FURTHER ORDERED that the Clerk shall forthwith serve a copy of this Order pursuant to Fed. R.
Bankr. P. 9022 and LBR 5005−4 upon Debtor, attorney for Debtor, Barbara P. Foley, chapter 13 trustee,
and all parties listed on the Debtor's mailing matrix.


                                                               BY THE COURT
Dated:     August 13, 2018
